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                     UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF TEXAS
                                                                                      ENTERED
                                                                                      06/07/2021

In Re: Katerra Construction LLC
                                                  Case No.: 21−31866

         Debtor
                                                  Chapter: 11



  ORDER REGARDING THE EXCHANGE OF EXHIBITS AND WITNESS
LISTS IN ALL CONTESTED MATTERS AND ADVERSARY PROCEEDINGS
     1.       Counsel representing parties in all contested matters and adversary
proceedings shall review and comply with BLR 9013−2 − Exchange of Exhibits,
Exhibit Lists and Witness Lists in All Contested Matters and Adversary Proceedings.
    2.   ALL PARTIES ARE ADVISED THAT THE FAILURE TO TIMELY
COMPLY WITH THIS ORDER WILL BE GROUNDS FOR THE DENIAL OF THE
ADMISSION OF ANY OR ALL EXHIBITS AND THE EXCLUSION OF WITNESS
TESTIMONY.
    3.       All hearings are evidentiary unless specifically ordered otherwise.
    It is so ORDERED.
    Signed and Entered on Docket: 6/7/21.
